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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA


 ST. CHARLES PARISH, A POLITICAL
 SUBDIVISION OF THE STATE OF
 LOUISIANA, AND MATTHEW JEWELL, IN
 HIS OFFICIAL CAPACITY AS ST. CHARLES
 PARISH PRESIDENT,                    Civil Action No. 2:23-cv-01369

                                                      Section P
                     Plaintiffs,
                                                      Judge Papillion
         v.
                                                      Magistrate Judge North
 FEDERAL EMERGENCY MANAGEMENT
 AGENCY,


                     Defendant.


                  DEFENDANT’S MOTION FOR ADDITIONAL PAGES

        Defendant respectfully requests leave to file an opening brief in excess of 25 pages in support

of its Motion for Summary Judgment.

        This Court’s Local Rule 7.7 limits opening briefs to 25 pages “[e]xcept with prior leave of

court.” Under that rule, Defendant seeks a page expansion of 14 additional pages. Defendant has

good cause for requesting this page extension so that it can adequately brief its Motion for Summary

judgment given (1) the technical nature of the Freedom of Information Act (“FOIA”) records at issue

in this case and the corresponding need to provide background information on the complex

regulatory scheme to which the records pertain; and (2) the number of issues in dispute, with Plaintiffs

having indicated that they intend to challenge the adequacy of Defendant’s FOIA search and all of its

FOIA withholdings (i.e., its withholdings under FOIA Exemptions 4 of two different categories of

information and its withholdings under FOIA Exemption 5 of two different categories of

information). In view of these considerations, Defendant asks the Court to allow it a total of 39 pages
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to fully brief the issues in its opening memorandum. So that Plaintiffs have adequate time to respond,

Defendant would consent to a modest extension of time for Plaintiffs to file their cross-motion for

summary judgment and incorporated memorandum in opposition, which is currently due by July 15,

2024.

        Defendant attaches as an exhibit to this motion its Motion for Summary Judgment and

accompanying memorandum and exhibits.

        Dated: June 14, 2024                     Respectfully submitted,

                                                 BRIAN M. BOYNTON
                                                 Principal Deputy Assistant Attorney General

                                                 MARCIA BERMAN
                                                 Assistant Branch Director
                                                 Civil Division, Federal Programs Branch

                                                 /s/ Yoseph T. Desta
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